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11   COMPANY, INC., and APPLE CSC INC.
12                                UNITED STATES DISTRICT COURT

13                              NORTHERN DISTRICT OF CALIFORNIA

14                                       SAN FRANCISCO DIVISION

15   FABRIENNE ENGLISH, on behalf of herself             Case No.     3:14-cv-01619-WHO
     and all others similarly situated,
16                                                       Related Case:
                           Plaintiffs,                   Maldonado, et al. v. Apple Inc. et al.
17                                                       Case No. 3:16-cv-04067-WHO
            v.
18                                                       DEFENDANTS’ RESPONSE TO
     APPLE INC., APPLECARE SERVICE                       PLAINTIFF’S ADMINISTRATIVE
19   COMPANY, INC., and APPLE CSC INC.,                  MOTION FOR LEAVE TO FILE
                                                         ADDITIONAL MATERIALS IN
20                         Defendants.                   SUPPORT OF PLAINTIFF’S
                                                         OPPOSITION TO SUMMARY
21                                                       JUDGMENT [ECF NO. 310]
22
                                                         Judge:         Hon. William H. Orrick
23                                                       Courtroom:     2, 17th Floor
24                                                       Complaint Filed: November 4, 2013
                                                         Transfer to N.D. Cal.: April 3, 2014
25                                                       Trial Date: None set
26

27

28
     DEFENDANTS’ RESPONSE TO PL. ADMIN MOT. FOR LEAVE TO FILE ADD’L MATERIALS ISO MSJ OPPOSITION
     CASE NO. 3:14-cv-01619-WHO
     sf-3708979
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 1           Pursuant to Local Rule 7-11(b), Defendants file this brief response to Plaintiff’s
 2   “Administrative Motion for Leave to File A Supplemental Motion to Seal and Declaration, and
 3   Also Leave to File Bathena Dixon’s Corrected Declaration, Brian Dalrymple’s Declaration
 4   (w/Exhibits), and Ex. L ISO Opposition to Summary Judgment.” (ECF No. 310.) Defendants
 5   oppose Plaintiff’s request for leave to file the “corrected” Bathena Dixon declaration, as well as
 6   the new Brian Dalrymple declaration and exhibits.1
 7           Throughout this litigation, Plaintiff has regularly disregarded Court-set deadlines.2
 8   Plaintiff’s most recent administrative motion for leave to file additional materials in support of
 9   her summary judgment opposition continues this practice, which is inefficient and creates undue
10   burden for Defendants and the Court. Plaintiff has notified Defendants today that she intends to
11   file an “errata” to fill in citations that are “missing” from Plaintiff’s opposition brief and to
12   “correct” (i.e., revise) a sentence in Plaintiff’s brief.3 (Declaration of Purvi G. Patel ¶ 2.)
13   Plaintiff is “trying to” file this “errata” “this week,” and has stated that it “should be” the last of
14   her post-deadline filings. (Id.)
15           Plaintiff’s original deadline to file her opposition was October 24, 2016, which afforded
16   Plaintiff twice the time provided by the Rules. (ECF No. 275.) The Court extended Plaintiff’s
17   deadline to October 28. (ECF No. 300.) Plaintiff has effectively given herself an additional
18   extension by filing the “corrected” Dixon declaration and the Dalrymple declaration, and through
19   her anticipated “errata” revising her opposition brief.
20           Plaintiff’s request for leave to file the “corrected” Dixon declaration and Dalrymple
21
         1
22          Defendants do not oppose Plaintiff’s request for leave to file Exhibit L in light of Plaintiff’s
     representation that the document could not be filed on October 28, 2016, due to an “uploading
23   issue with the ECF system.” (ECF No. 310 ¶ 9.)
          2
            See ECF Nos. 180-183 (missed filing deadline for motion for class certification and filed
24   “corrected” exhibits thereafter), 186-187 (eight days after deadline, filed a “corrected” motion for
     class certification and an errata regarding that “corrected” motion), 194 (order prohibiting further
25   filings in connection with motion for class certification without leave of the Court), 212-214
     (missed filing deadline for reply in support of motion for class certification), 220 (eleven days
26   after deadline, filed “corrected” exhibits in connection with reply in support of motion for class
     certification).
27       3
          Plaintiff was well aware of the missing citations in her opposition brief at the time of filing.
28   (See ECF No. 304-4, ¶ 6.)

     DEFENDANTS’ RESPONSE TO PL. ADMIN MOT. FOR LEAVE TO FILE ADD’L MATERIALS ISO MSJ OPPOSITION               1
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 1   declaration and exhibits should be denied. Plaintiff has failed to provide any credible justification
 2   as to why she is entitled to additional extensions of time beyond what this Court has already
 3   granted, and after having failed to meet the Court’s deadline. Plaintiff’s motion offers no
 4   explanation as to why the Dalrymple declaration and exhibits were not timely filed. Further,
 5   Plaintiff’s lengthy explanation regarding the various versions of the Dixon declaration
 6   demonstrates that Plaintiff was not prepared to complete her filing on time. (ECF No. 304-4, ¶ 4
 7   [admits that Dixon was still “working on” a new declaration (which contains additional
 8   substantive content) as of the filing deadline on October 28].) Moreover, the “corrected”
 9   declaration was not signed until October 29—a day after Plaintiff’s opposition was due. (ECF
10   No. 310-3.) Plaintiff’s failure to timely file these declarations was therefore not a matter of true
11   technical difficulties (as with Exhibit L, the filing of which Defendants do not oppose).
12          Plaintiff’s practice of late and iterative filings is not permitted by the rules of this Court
13   and has been disruptive and costly for Defendants. Defendants accordingly respectfully request
14   that the Court issue an order denying Plaintiff’s request for leave to file additional materials and
15   further prohibiting Plaintiff from filing any additional documents in connection with her
16   opposition to Defendants’ motion for summary judgment, including, but not limited to any
17   document or “errata” that makes corrections or revisions to Plaintiff’s opposition brief or
18   supporting materials. If the Court prefers to reserve ruling on Plaintiff’s motion for leave to file
19   these additional materials, Defendants are willing to address the “corrected” Dixon declaration
20   and Dalrymple declaration in their reply due November 23, 2016. To prepare their reply brief
21   efficiently, however, Defendants need for Plaintiff to cease filing additional materials in support
22   of her opposition.
23   Dated: November 4, 2016                              Respectfully submitted,
24                                                       MORRISON & FOERSTER LLP
25
                                                         By:    /s/ Purvi G. Patel
26                                                                  Purvi G. Patel
27                                                             Attorneys for Defendants
                                                               Apple Inc., AppleCare Service Company,
28                                                             Inc., and Apple CSC Inc.
     DEFENDANTS’ RESPONSE TO PL. ADMIN MOT. FOR LEAVE TO FILE ADD’L MATERIALS ISO MSJ OPPOSITION
     CASE NO. 3:14-cv-01619-WHO                                                                              2
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